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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

IN RE: Seroquel Products Liability Litigation,
MDL DOCKET NO. 1769

This document relates to (ALL CASES)
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JOINT MOTION BY PLAINTIFFS AND DEFENDANT ASTRAZENECA TO
ADOPT PROPOSED PRETRIAL ORDER REGARDING PLAINTIFF FACT SHEETS

Plaintiffs and Defendants AstraZeneca Pharmaceuticals LP and AstraZeneca LP (“the
Parties”), by and through undersigned counsel, hereby request that this Court enter their
proposed pretrial order regarding the form, and schedule for service, of plaintiff fact sheets. The
Parties have conferred and agree to same. Pursuant to Part II(E)(4)(a)-(b) of the Middle District
of Florida Administrative Procedures for Electronic Filing in Civil and Criminal Cases, the
proposed order and its attachments have been submitted by e-mail in a format compatible with
WordPerfect.

WHEREFORE, based on the above, the Parties request that this Court enter their

proposed pretrial order regarding the form, and schedule for service, of plaintiff fact sheets.

 

 

DATED: November 6, 2006 DATED: November 6, 2006

s/Larry M. Roth s/Michael W. Davis

Larry M. Roth Michael W. Davis

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and AstraZeneca LP
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CERTIFICATE OF SERVICE

I hereby certify that, on the 6th of November, 2006, I caused to be served a copy of the
foregoing by U.S. Mail to the individuals listed on the attached Service List.

 

“Attorney
